Case 2:11-cv-05098-CI\/|R Document 1 Filed 08/10/11 Page 1 of 13

ms 44 (Rev. 12/07, NJ 5/08)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re lace nor su§
by local rules of court This forrn, approved by the Judicial Conference o the United
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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tates m September 1974, is required for the use oft e Clerk of

uired by law except as provided
ourt for the purpose of 1n1t1at1ng

 

1. (a) PLAINTIFFS

TYESHA JACKSON W|SE

(b) County of Residence of First Listed Plaintiff

(c) Attorney's (Firm Name, Address, Telephone Number and Email Address)

Craig Thor Kimmel, Esquire
Kimme| & Si|verman, P.C.

30 E. But|er Pike
Ambler, PA 19002
(71'%\ 540-8888

II. BASIS OF JURISDICTION

(Place an “X" in One Box Only)

 

DEFENDANTS

NCO F|NANC|AL SYSTEl\/IS, |NC.

County of Residence of First Listed Defendant

NOTE:

LAND INVOLVED.

Attorneys (If Known)

(For Diversity Cases Only)

lN LAND CONDEMNATION CASES, USE THE LOCATION OF 'I`HE

and One Box for Defendant)

 

III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaiutiff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cl 1 U.S. Govemmeut m 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. GovemmentNot a Party) Citizen of'l`his State 13 l 13 1 Incorporated or Principal Place 13 4 13 4
of Business In Tl\is State
13 2 U.S. Govemment 13 4 Diversity Citizen of Another State 13 2 U 2 Incozporated and Principa| Place 13 5 13 5
Defe“dam (Indicate Citizenslup of I’anies in Item 111) of Busmess In Another State
Citizen or Subject of a Cl 3 13 3 Foreign Nation 13 6 Cl 6
Foreign Country
IV. NATURE OF SUIT sPlace an “X” in One Box Only)
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13 120 Marine 13 310 Airplane 13 362 Personal Injury - D 620 Other Food & Drug EJ 423 Withdrawal Cl 410 Antinust
13 130 Miller Act 13 315 Airplane Product Med. Malpractice 13 625 Drug Related Seizure 28 USC 157 D 430 Banks and Banking
Cl 140 Negotiable Insttument Liability 13 365 Personal Injury - of Property 21 USC 881 Cl 450 Commerce
Cl 150 Recovely of Overpayment 13 320 Assault, Libel & Product Liability 13 630 Liquor Laws PROPERTY RIGIITS 13 460 Deportation
& Enforcement of Judgment Slander 13 368 Asbestos Personal 13 640 R.R. & Truck 13 820 Copyrights 13 470 Racketeer Influenced and
13 151 Medicare Act 13 330 Federal Employers’ Injury Product El 650 Airline Regs. Cl 830 Patent Con'upt Organizations
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Sl'udent Loans 0 340 Marine PERSONAL PROPERTY Safety/Healtll 13 490 Cal)le/Sat TV
(Excl. Veteraus) 13 345 Mariue Product CI 370 Other Fraud 13 690 Other |3 810 Selective Servicc
El 153 Recovcly of Overpayment Liability 13 371 Truth in Lending LABOR SOCIAL SECURITY D 850 Securities/Commodities/
of Veteran’s Benef“its 13 350 Motor Vehicle 13 380 Other Personal 13 710 Fair Labor Standards 13 861 HIA (13951`1) Exchange
Cl 160 Stockholders’ Suits 13 355 Motor Vel1ic|e P1'operty Damage Act 13 862 Black Lung (923) Cl 875 Customer Challenge
Cl 190 Othei' Contract 1’1'0duct Liability D 385 Prope1ty Dainage Cl 720 Labor/Mgmt. Relations Cl 863 DIWC/DIWW (405(g)) 12 USC 3410
13 195 Contract Product Liabi|ity Cl 360 Otlier Personal Product Liability D 730 Lal)or/Mgmt.Repoiting 13 864 SSID Title XVI D 890 Otl!er Starutory Actions
13 196 Franchise Injuiy & Disclosure Act [l 865 RS1(405(g)) 13 891 Agricultural Acts
l REAL PROPERTY CIV[L RIGHTS PR[SONER PETIT[ONS D 740 Railway Labor Act FEDERAL TAX SUITS 13 892 Economic Sfabilization Act
13 210 Land Coudemnation 13 441 Voting D 510 Motions to Vacate El 790 Other Labor Litigalion 13 870 Taxes (U.S. Plaintiff 13 893 Environmental Matters
D 220 Foreclosure 13 442 Employmem Sentence Cl 791 Ernpl. Ret. Inc. or Defendaut) Cl 894 Energy Allocation Act
13 230 Rent Lease & Ejectment 13 443 chsing/ Habens Corpus: Security Act 13 871 IRS-Third Party D 895 Freedom of Information
13 240 T01ts to Land Accominodations g 530 General 26 USC 7609 Act
13 245 Tort Procluct Liability Cl 444 Welfare Cl 535 Death Penalty lMMIGRATlON 13 900Appeal of Fee Detenniuation
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Employment 13 550 Civil Rights 13 463 Habeas Corpus - to Justice
13 446 Amer. w/Disabilities - 13 555 Pl'ison Condition Alien Detainee 13 950 Constitutionality of
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VI. CAUSE OF ACTION

 

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Brief description of cause:
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VII. REQU ESTED IN

COMPLAINT:

VIII. RELATED CASE(S)

Explanation:

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DA'I`E

|:l CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C,P, 23

(See instructions);

IUDGE

DEMAND $

CHECK YES only if demanded in complaint

JURY DEMAND:

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Case 2:11-cv-05098-CI\/|R Document 1 Filed 08/10/11 Page 2 of 13
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: ";£/US‘ l \!\lU c>q h :>:\) LH x _~,A/Y\[}l {) 19 z 10 34 ('%(/K) A/l}
Address ofDefendant: ` £){\ ) _?f)l U/`i(` 1\;`1(`\‘ \ \\L (. ‘\.K\\ § ,§`i O( \SN\ 11"'1- g\\ @i\\ 11670[/((

Place of Aceident, Incident or Transaction:

 

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Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a)) Yes[:l No
Does this case involve multidistrict litigation possibilities? Yele No|]/
RELATED CASE, IF ANY:
Case Numbcr: Judge Datc Terminatcd:

 

 

 

Civil cases arc deemed related when yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this cour|tg?/

ch111 No
2. Does this case involve the same issue of fact or grow out of the same transaction as a pn'or suit pending or within one year previously terminated

action in this court? m/
chl] No

3. Does this ease involve the validity or infringement of a patent already in suit or any earlier numbered ease pending or within one year premequ

terminated action in this court? Yesm NoE/

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes [:| No U/

 

CIVIL: (Place l/ in ONE CATEGORY ONLY)

A, Federal Question Cases: B. Diversity Jurisdicrion Cases:

l. 111 Indemnity Contract, Marine Contract, and All Other Contracts l. 13 Insurance Contract and Other Contracts

2. 111 FELA 2. 111 Airplane Personal Injury

3. 111 J ones Act~Personal Injury 3. 111 Assault, Defamation

4. El Antitrust 4. 111 Marine Personal Injury

5. 51 Patent 5. 111 Motor Vehicle Personal Injury

6. 13 Labor-Management Relations 6. 111 Other Personal Injury (Please
specify)

7. 111 Civil Rights 7. 111 Products Liability

8. 111 Habeas Corpus . 111 Produets Liability_Asbestos

9. 13 Seeurities Act(s) Cases 9. 111 All other Diversity Cases

10. 111 _`Soeial Seeurity Review Cases (Please specify)

ll>KF/All other Federal Question Cases l (> U‘S 1 (\\ ‘ § j ll 'O(//

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ARBITRATION CERTIFICATION
I, J( ill i; W/MH K\_ m l/y\ 0 l ,counsel of(r:]¢:::dc g§}l]i;::t:;/a;:r$i;;:gory)
111 Pui§uan)o Local Civil Rule 53 2, Section 3(c)(2), that to the best of my knowledge and belicf, the damages recoverable 1n this civil action case exceed the sum of
$150, 000. 00 exclusive of mterest and costs;
111 Relief other than monetary damages is s

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NOTE: A ` e novo will be a trial by Jury only if there has been compliance with F.R.C.P. 38.

 

I certify that, to my knowledge, the within case is not related to any case now pending or Within one year previously terminated action in this court
except as noted above. / §
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Attorney-at-Law \ Attorney I.D.#
CIV. 609 (6/08)

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
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In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255 . ( )

(b) Social Seeurity - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Seeurity Beneflts. ( )

(e) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. 96

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management - Cases that do not fall into any one of the other tracks. ( )
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UNITED STATES DISTRICT COURT
FOR THE
EASTERN DISTRICT ()F PENNSYLVANIA

 

 

 

TYESHA JACKSON WISE, )
)
Plaintiff )
)
v. ) Case No.:
)
NCO FINANCIAL SYSTEMS, INC., ) COMPLAINT AND DEMAND FOR
) JURY TRIAL
Defendant )
) (Unlawful Debt Collection Practices)
COMPLAINT

TYESHA JACKSON WISE (“Plaintift”), by her attorneys, KIMMEL & SILVERMAN,

P.C., alleges the following against NCO FINANCIAL SYSTEMS, INC. (“Defendant”):

INTRODUCTION
1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et seq. (“FDCPA”), and the Rosenthal Fair Debt Collection Practices Act, Cal.

Civ. Code §§1788-1788.32 (“RFDCPA”).

JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 16921<(d), Which states
that such actions may be brought and heard before “any appropriate United States district court
Without regard to the amount in controversy”; 28 U.S.C. § 1331, Which grants this court original
jurisdiction of all civil actions arising under the laws of the United States; and 28 U.S.C. §1367,
Which grants this court supplemental jurisdiction over state law claims because those claims are
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PLAINTIFF’ S COMPLAINT

 

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related to Plaintiff’ s federal claims and arise out of the same nucleus of related facts and form
part of the same case or controversy under Article 111 of the United States Constitution.

3. Defendant conducts business and has an office in the Commonwealth of
Pennsylvania and therefore, personal jurisdiction is established

4. Venue is proper pursuant to 28 U.S.C. §1391.

5. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

PARTIES

6. Plaintiff is a natural person residing in Los Angeles, California, 90047.

7. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § l692a(3).

8. Defendant is a national debt collection company With its corporate headquarters
located at 507 Prudential Road in Horsham, Pennsylvania, 19044.

9. Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),
and repeatedly contacted Plaintiff in an attempt to collect a debt.

10. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

PRELIMINARY STATEMENT

11. The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute,

Which prohibits a catalog of activities in connection With the collection of debts by third parties.
_S_e§ 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,

and provides for specific consumer rights. 15 U.S.C. § 1692k. The operative provisions of the

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FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful and
misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or
unconscionable conduct, both generally and in a specific list of disapproved practices

12. ln particular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions. First, a “debt collector may not
engage in any conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.” 15 U.S.C. § 1692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or means in connection
with the collection of any debt.” 15 U.S.C. § 1692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The FDCPA is designed to protect consumers from unscrupulous collectors, whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection methods, conduct which
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection with the collection of a debt.

13. ln enacting the FDCPA, the United States Congress found that “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal bankruptcies, to marital instability,
to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § l692a. Congress
additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers. 15 U.S.C. § 1692b.

14. Congress enacted the FDCPA to regulate the collection of consumer debts by debt

collectors. The express purposes of the FDCPA are to “eliminate abusive debt collection

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practices by debt collectors, to insure that debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § 1692e.

FACTUAL ALLEGATIONS

15. At all times relevant to this matter, Plaintiff was an individual residing Within the
State of California.

16. At all times relevant, Defendant conducted business within the State of
California.

17. Defendant is a third party debt collector as envisioned by the California
legislature pursuant to Cal. Civ. Code §1812.700(a).

18. Sometime before May 2011, Plaintiff is alleged to have incurred certain financial
obligations.

19. These financial obligations were primarily for person, family or household
purposes and are therefore a “debt” as that term is defined by 15 U.S.C. §1692a(5).

20. These financial obligations were money, property, or their equivalent, which is
due or owing, or alleged to be due or owing, from a natural person to another person and are
therefore a “debt” as that term is defined by California Civil Code §1788.2(d), and a “consumer
debt” as that term is defined by California Civil Code §1788.2(f).

21. Sometime before May 2011, Plaintiff settled an account with the creditor, AT&T,
by paying the amount due and owing.

22. Subsequently, the alleged debt was assigned, placed, or otherwise transferred, to

Defendant, although no debt was due.

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PLAINTIFF’ S COMPLAINT

 

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23. Beginning in or around May 2011, Defendant and its employees engaged in debt
collection activities including but not limited to telephone calls, seeking payment from Plaintiff
for the alleged debt.

24. Among the calls, on or around May 11, 2011, Defendant placed a call to
Plaintiffs cellular telephone informing her that she owed an outstanding balance of $26.99 for
an alleged AT&T debt, despite the fact that Plaintiff had already settled the account with AT&T.

25 . Plaintiff became upset and explained to Defendant that the alleged debt had been
paid.

26. Plaintiff demanded that calls stop, but Defendant did not act in accordance with
these instructions.

27. Within five (5) days after its initial contact with Plaintiff on May 11, 2011,
Defendant failed to send Plaintiff written correspondence advising her of her rights to dispute
and/or seek validation for the alleged debt.

28. Defendant intended to harass Plaintiff by use of a telephone to obtain payment for
a debt which was not owed, on an account for which there was no outstanding balance.

29. Defendant intended to deceive Plaintiff

30. Defendant had in place procedures and policies designed to upset and annoy
consumers by means of frequent telephone calls, regarding claims that were dubious and
doubtful, expecting that in response, a percentage of persons called would pay the amounts
claims to cease the calls.

CONSTRUCTION OF APPLICABLE LAW

31. The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay &

 

Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer

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PLAINTIFF’ S COMPLAINT

 

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need not show intentional conduct by the debt collector to be entitled to damages Russell v.

Eguifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage Corp., 233

 

F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal status
violated FDCPA); Clomon v. Jackson, 988 F. 2d 1314 (2d Cir. 1993).

32. The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit
& Collection Services, lnc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the
Truth in Lending Act (TILA) 15 U.S.C §1601 et seq., is a remedial statute, it should be
construed liberally in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 (10th Cir.
2002).

33. The FDCPA is to be interpreted in accordance with the “least sophisticated”
consumer standard See Jeter v. Credit Bureau, lnc., 760 F.2d 1168 (11th Cir. 1985); Graziano

v. Harrison, 950 F. 2d 107 (3rd Cir. 1991); Swanson v. Southern Oregon Credit Service, lnc.,

 

869 F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protection of experts, but for
the public - that vast multitude which includes the ignorant, the unthinking, and the credulous,
and the fact that a false statement may be obviously false to those who are trained and
experienced does not change its character, nor take away its power to deceive others less
experienced.” Ld. The least sophisticated consumer standard serves a dual purpose in that it
ensures protection of all consumers, even naive and trusting, against deceptive collection
practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of

collection notices Clomon 988 F. 2d at 1318.

 

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PLAINTIFF’ S COMPLAINT

 

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34. In its actions to collect a disputed debt, Defendant violated the FDCPA in one or
more of the following ways:

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b.

COUNT I
DEFENDANT VIOLATED THE
FAIR DEBT COLLECTION PRACTICES ACT

Defendant violated of the FDCPA generally;
Defendant violated §1692d of the FDCPA by harassing Plaintiff in
connection with the collection of an alleged debt;
Defendant violated §1692e of the FDCPA by using false, deceptive, or
misleading representations or means in connection with the collection of a
debt;
Defendant violated §1692e(2)(A) of the FDCPA by falsely representing the
character, amount, or legal status of any debt;
Defendant violated §1692e(10) of the FDCPA by using false representations
or deceptive means to collect or attempt to collect a debt;
Defendant violated §1692f of the FDCPA by using unfair and unconscionable
means with Plaintiff to collect or attempt to collect a debt;
Defendant violated §1692g of the FDCPA by failing to send written
notification, within five (5) days after its initial communication with Plaintiff,
advising Plaintiff of her rights to dispute the debt or request verification of the
debt; and
Defendant acted in an otherwise deceptive, unfair and unconscionable manner

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PLAINTIFF’ S COMPLAINT

 

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and failed to comply with the FDCPA.

COUNT II
VIOLATION OF THE ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT
§§ 1788-1788.32 (RFDCPA)

34. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

35. The Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code
§§1788-1788.32, prohibits debt collectors from engaging in unfair or deceptive acts or practices
in the collection of consumer debts and to require debtors to act fairly in entering into and
honoring such debts § Cal. Civil Code § l788.1(b).

36. Plaintiff avers that Defendant performed debt collection activities in an attempt to
collect a debt allegedly owed to it.

37. In those instances where Defendant preformed debt collection activities,
Defendant’s conduct 'violated the RFDCPA.

38. Plaintiff is a “person” as that term is defined in Cal. Civ. Code § 1788.2(g).

39. Plaintiff is a “debtor” as that term is defined in Cal. Civ. Code § 1788.2(h).

40. Defendant is a “debt collector” as that term is defined in Cal. Civ. Code §
1788.2(c).

41. Defendant’s conduct violated the RFDCPA in multiple ways, including but not
limited to:

(a) Collecting or attempting to collect from the debtor the whole or any part of the
debt collector’s fee or charge for services rendered, or other expense incurred by

the debt collector in the collection of the consumer debt, except as permitted by
law in violation of Cal. Civ. Code § 1788.14(b);

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PLAINTIFF’ S COMPLAINT

 

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42. As a result of Defendant’s violations of the RFDCPA, Plaintiff is entitled to any
actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages for a knowing or
willful violation in the amount up to $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and
reasonable attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, TYESHA JACKSON WISE, respectfully prays for a judgment

as follows:

a. All actual compensatory damages suffered pursuant to 15 U.S.C. §
1692k(a)(1);

b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
15 U.S.C. § 1692k(a)(2)(A);

c. Statutory damages of $1,000.00, pursuant to California Civil Code §
1788.30(b);

d. All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3) and California
Civil Code§ 1788.30(c); and

e. Any other relief deemed appropriate by this Honorable Court.

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, TYESHA JACKSON WISE demands a jury

trial in this case.

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PLAlNTIFF’ S COMPLAINT

 

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RESPECTFULLY SUBMITTED,

DATED; '"/(,"1 -/ \|' KIMMEL & levERMAN; P.C.

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